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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                         Case No.: 17-24103-Civ-COOK/GOODMAN


   TIKD SERVICES LLC,

          Plaintiff,

   vs.

   THE FLORIDA BAR, MICHAEL J. HIGER,
   JOHN F. HARKNESS, LORI S. HOLCOMB,
   et al.,

          Defendants
                                              /

                    PLAINTIFF TIKD SERVICES, LLC’s RESPONSE TO
                   FLORIDA BAR DEFENDANTS’ MOTION TO DISMISS

          Plaintiff TIKD Services LLC respectfully responds to the Rule 12 motion to dismiss
   filed by The Florida Bar, Michael J. Higer, John F. Harkness, Lori S. Holcomb, and
   Jacquelyn P. Needelman (“the Bar Defendants”).
   I.     Introduction and summary.
          The Bar Defendants make little effort to claim the acts alleged in TIKD’s Complaint
   did not, in fact, violate the Sherman Antitrust Act and the equivalent Florida antitrust law.
   Nor do they deny these acts have, and are continuing to, wreak havoc on a small,
   innovative Florida company. Instead, the Bar Defendants blithely claim they may violate
   federal and state antitrust law with impunity because the Bar rules call the Bar “an arm” of a
   state governmental body. If it ever was, escaping antitrust scrutiny is no longer so simple.
          The 11th Amendment no longer, if it ever did, provide the Bar blanket immunity
   from antitrust suits. Under current 11th Circuit law, which the Bar does not cite, the Bar
   Defendants’ actions at issue here are not immune because they were not authorized or
   supervised by the State. And TIDK is entitled to injunctive relief under Ex parte Young,
   regardless of immunity from damages under the 11th Amendment.
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          Likewise, state action immunity is not available because the Bar Defendants’ actions
   (1) violated, rather than followed, a “clearly articulated” state policy to displace competition;
   and (2) were not supervised by a politically-accountable state actor in any way, let alone
   “actively supervised,” as required.
          The Supremacy Clause defeats any claim of antitrust immunity based on state law.
          The Complaint states sufficient facts to support a finding that the individual Bar
   Defendants acted outside the scope of their authority to deny dismissal and allow discovery.
          Noerr-Pennington immunity is unavailable because the Complaint is not based on any
   effort by the Bar Defendants to influence public officials. It is based on their unauthorized
   communications to members that the Bar had “found” TIKD engaged in UPL, and their
   issuance of an unauthorized ethics opinion to the same effect.
          Younger abstention does not apply to federal claims at all, and would not, in any case,
   because the Complaint does not seek to interfere with an ongoing proceeding, only to stop
   and remedy extra-investigative acts.
          TIKD’s Complaint adequately alleges Section 1 and Section 2 per se and rule of
   reason antitrust claims.
          Florida’s anti-SLAPP statute does not apply in federal court, and would not apply to
   TIKD’s claims, in any case.
          The Motion to Dismiss should be denied in all respects, as explained in detail below.
   II.    The Florida Bar Defendants are not immune from suit.
          The Bar Defendants’ primary ground for dismissal is a brash, but legally
   unsustainable, claim they are free to violate the Sherman Act with legal impunity. They
   claim complete 11th Amendment and state action immunity from any obligation to comply
   with federal antitrust law. Mot. at 3-12. If these arguments ever were valid, they no longer
   are, as the Florida Bar itself helped confirm.
          In Dental Examiners, the North Carolina State Board of Dental Examiners had been
   found to have violated federal antitrust law in the course of its “investigation” into whether
   the state-granted monopoly over practicing dentistry was being violated by unlicensed teeth
   whiteners. See N.C. State Bd. of Dental Examiners v. FTC, 771 F.3d 359 (4th Cir. 2013), aff’d,
   135 S. Ct. 1101 (2014). The board had violated the Sherman Act by telling non-dentist
   teeth-whiteners in cease-and-desist letters they were engaged in the “unlicensed practice of


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   dentistry,” by telling mall operators to stop leasing kiosk space to teeth-whiteners, and by
   asking its sister Board of Cosmetic Art Examiners to tell its members and licensees not to
   provide teeth-whitening services. Id. at 365. The Fourth Circuit upheld these violations,
   holding the board was not immune from antitrust liability. Id. at 365-70.
          The Florida Bar joined two other state bar associations in an amicus curiae brief
   urging reversal of the Fourth Circuit. Ex. 1, attached. The Florida Bar told the Supreme
   Court, in no uncertain terms, that if the Fourth Circuit was affirmed, the Bar would have to
   comply with the Sherman Act or face lawsuits and damage judgments:
          The Fourth Circuit’s decision … will expose those charged by the state with
          regulating professionals – and their board or council members – to antitrust claims
          (and, potentially, to awards of treble damages and attorneys fees, as well as to
          criminal liability).
          State bars will have to defend expensive antitrust actions even though states explicitly
          authorize the state bars to regulate the conduct being challenged.
          Lawyers will be reluctant to serve as bar councilors for fear of being sued – and being
          held individually liable – in treble-damage antitrust actions.
          If the Fourth Circuit decision stands, those state bars will face Sherman Act liability
          … simply because a state legislature chose to populate the [agency] with practicing
          lawyers as the regulators.
          The Fourth Circuit’s decision … threatens defendants with treble damages and
          awards of attorneys fees.
   Ex. 1 at 11, 12, 14.
          Affirming, the Supreme Court rejected the dissent’s simplistic immunity formula,
   which the Bar had urged there and inexplicably still urges here: if a state calls something “a
   state agency,” “that is the end of the matter.” See 135 S. Ct. at 1118 (Alito, J., dissenting).
   Having come out on the losing side of Dental Examiners, the Bar should know better.
          A.      The 11th Amendment does not immunize the Bar Defendants from suit.
          Although it is their lead point, the Bar Defendants devote a perfunctory two
   paragraphs to their claim of 11th Amendment immunity. Mot. at 3-4. Although the Bar
   may have prevailed on this ground in other kinds of cases before, under the current 11th
   Circuit case law its Motion ignores, this argument fails.
                  1.      The Florida Bar is not immune.
          When the Florida Bar effectively admitted state action immunity would not protect
   its anticompetitive conduct in its Dental Examiners brief, it also effectively conceded its back-


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   up 11th Amendment immunity defense:
           Treating a state agency as a ‘private actor’ would not only potentially deprive state
           agencies and their officials of state action immunity, but would also cast doubt on the
           availability of other immunities, such as immunity under the Eleventh Amendment.
   Ex. 1 at 16 n.3 (emphasis added). This concise footnote more accurately states current law
   than the Bar’s pending Motion.
           The Bar Defendants, predictably, rely on Kaimowitz v. The Florida Bar, 996 F.2d 1151
   (11th Cir. 1993). Mot. at 3. Kaimowitz was an unsigned panel decision adopting a district
   court order dismissing a pro se suit brought by a Bar member claiming the Bar had
   “support[ed] ‘the exploitation and resegregation of blacks,’” id. at 1115, not a Sherman Act
   case based on the Bar’s enforcement of its legal monopoly. The district court had found 11th
   Amendment immunity based solely on the State Bar Rules’ declaration that the Bar is “an
   official arm of the Court.” Id.
           After Kaimowitz, the Supreme Court decided McMillian v. Monroe County, 520 U.S.
   781 (1997), which provided further guidance on sovereign immunity claims. Following
   McMillian, the 11th Circuit, sitting en banc, adopted a four-factor test:
           In Eleventh Amendment cases, this Court uses four factors to determine whether an
           entity is an “arm of the state” in carrying out a particular function: (1) how state law
           defines the entity; (2) what degree of control the State maintains over the entity; (3)
           where the entity derives its funds; and (4) who is responsible for judgments against
           the entity.
   Manders v. Lee, 338 F.3d 1304, 1309 (11th Cir. 2003) (en banc). Manders, which the Bar
   ignores, supplants Kaimowitz.1 The Manders test closely aligns 11th Amendment immunity
   doctrine with state action immunity after Dental Examiners. Both doctrines now reject

   1
    A panel decision is binding circuit precedent “unless and until it is overruled or undermined to the
   point of abrogation by the Supreme Court or by this court sitting en banc.” Walker v. Jefferson Cty.
   Bd. of Educ., 771 F.3d 748, 752 (11th Cir. 2014). Kaimowitz’s perfunctory treatment of 11th
   Amendment immunity unquestionably was abrogated by McMillian and Manders’ four-part test. “In
   Manders, we established a single test to determine when an office or entity acts as an arm of the state.”
   Lake v. Skelton, 840 F.3d 1334, 1337-38 (11th Cir. 2016) (emphasis added).
           The two unpublished and therefore non-binding 11th Circuit opinions that relied on
   Kaimowitz’s sovereign immunity holding did not recognize that its analysis has been abrogated by
   Manders. See Brown v. The Florida Bar, 243 F. App’x 552, 553 (11th Cir. 2007); Henry v. Florida Bar,
   701 F. App’x 878, 880 (11th Cir. 2017). In Manzini v. The Florida Bar, 511 F. App’x 978 (11th Cir.
   2013) (unpublished), the court concluded that the state bar official at issue acted within the scope of
   her discretionary authority because, unlike here, the Bar rules explicitly required the challenged
   conduct. Id. at 981-82.


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   formulaic declarations and instead examine specific agency functions, requiring actual state
   control and oversight. The Bar’s actions at issue in this case fail the Manders test.
          How state law defines the Bar. The preamble to the Florida Bar Rules declares the
   Bar to be “an official arm of the Court.” This is the start, not the end, of the analysis.
          The degree of State control. Under Manders, the 11th Amendment immunity turns on
   the “particular function in issue.”        338 F.3d at 1309.        The State Bar Defendants’
   anticompetitive actions “in issue” here were neither controlled nor supervised by the State.
   See Section II.B, below.
          Where the entity derives its funds. The Bar is funded by its members’ dues, not the
   State of Florida.2
          The entity responsible for judgments. The Bar itself told the Supreme Court that it
   and its officers would be exposed to antitrust damage judgments, not the State of Florida.
   Ex. 1 at 11. This suit does not threaten the State’s coffers.
          Under the now-applicable Manders’ four-part test, the Bar Defendants have no 11th
   Amendment immunity from the claims against them in this lawsuit.
                  2.      Regardless of immunity to damages, TIKD can obtain injunctive
                          relief under Ex parte Young.
          The Bar Defendants also ignore Ex parte Young, 209 U.S. 123 (1908), which
   recognizes federal courts’ power to enjoin state officials from violating federal law. Summit
   Medical Associates, PC v. Pryor, 180 F.3d 1326, 1336 (11th Cir. 1999) (Ex parte Young “is a long
   and well-recognized exception” to 11th Amendment immunity for suits against state officers
   seeking equitable relief to end violations of federal law). Even if the State Bar were immune
   from damages (and it is not, under Manders and Dental Examiners), the State Bar Defendants
   in their official capacity remain subject to this Court’s power under Ex parte Young to grant
   injunctive relief, and so should not be dismissed.




   2
    See “Annual Fees” reported under “Source of Funds” and “General Revenue & Expense” in
   Florida Bar proposed budget for fiscal year 2017-18, available at
   https://www4.floridabar.org/TFB/TFBResources.nsf/Attachments/0821D88E07496C0E852580F
   E004820B1/%24FILE/FY%2017-18%20Budget%20for%20News.pdf.


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          B.      The Defendants are not entitled to state action immunity for the acts made
                  the basis of TIKD’s Complaint.
          As with 11th Amendment immunity, merely being called an “official arm” of the
   state is insufficient to obtain state action immunity. “The fact that the State Bar is a state
   agency for some limited purposes does not create an antitrust shield that allows it to foster
   anticompetitive practices for the benefit of its members.” Goldfarb v. Virginia State Bar, 421
   U.S. 773, 791 (1975). The Bar concedes, as it must, that to earn state action immunity, it
   must meet the standard set by Parker, Midcal and, most recently, Dental Examiners.3 Mot. at
   5.   “A nonsovereign actor controlled by active market participants … enjoys Parker
   immunity only if it satisfies two requirements: first, that the challenged restraint … be one
   clearly articulated and affirmatively expressed as state policy, and second that the policy …
   be actively supervised by the state.” Dental Examiners, 135 S. Ct. at 1110 (citations omitted).
   Although it must meet both prongs, for the actions challenged here, the Bar fails both.4
                  1.      The anticompetitive actions at issue are not part of a clearly
                          articulated state policy to displace competition.
          What constitutes “the practice of law” is famously difficult to define. The Florida
   Supreme Court reserves the exclusive right to make that state law determination. For that
   reason, the Bar’s delegated power over its members’ legal monopoly is narrowly prescribed:
   it can investigate, it can bring suit, and that’s it. Bar Rule 10-6.3. It cannot send cease-and-
   desist letters or make “findings” that a company is engaged in UPL, let alone to help a
   private law firm eliminate competition. That is the conduct at issue here, not, as the Bar
   claims, a broad challenge to its “rules and policies” or “process.” Mot. at 8. The State Bar
   Defendants do not, and cannot, point to a “clearly articulated state policy” justifying the
   conduct alleged in this lawsuit. In fact, the rules governing the State Bar give no authority

   3
     Parker v. Brown, 317 U.S. 341 (1943); California Retail Liquor Dealers Ass’n v. Midcal Aluminum, Inc.,
   445 U.S. 97 (1980) (“Midcal”); N.C. State Bd. of Dental Examiners v. FTC, 135 S. Ct. 1101 (2015)
   (“Dental Examiners”).
   4
     Two non-binding cases that fail to apply Midcal or Dental Examiners do not apply here. The first,
   Ramos v. Tomasino, 701 Fed. App’x 798 (11th Cir. 2017) (unpublished) is an unpublished circuit
   opinion, and thus is not precedent. Eleventh Circuit Rule 36-2 (“unpublished opinions are not
   considered binding precedent, but they may be cited as persuasive authority.”). That pro se case was
   brought by a serial vexatious litigant complaining about the Bar’s destruction of old disciplinary
   proceeding records, not actual anticompetitive conduct. The second, Rosenberg v. State of Florida, 15-
   22113-CIV, 2015 WL 13653967 (S. D. Fla. Oct. 14, 2015), declined to even apply Midcal, because
   the plaintiff did not even “attempt to explain what acts violated the Sherman Act.”


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   to issue UPL opinions disguised as ethics opinions, compare Bar Rule 2-9.4(d) with Bar Rule
   10-9, and they prohibit issuing ethics opinions while a UPL investigation or ethics complaint
   is pending5 – both of which are the case as to TIKD.
                   2.      The anticompetitive actions at issue were not “actively supervised.”
          The Bar Defendants claim carte blanche to violate the Sherman Act because the
   Florida Supreme Court promulgated the rules authorizing it to conduct UPL investigations
   and file suit. Mot. at 7. This hardly shows active supervision of the anticompetitive acts on
   which this lawsuit is based.
          To be “actively supervised,” a politically accountable supervisor “must review the
   substance of the anticompetitive decision, not merely the procedures followed to product
   it,” “have the power to veto or modify particular decisions to ensure they accord with state
   policy,” and “may not itself be an active market participant.” Dental Examiners, 135 S. Ct. at
   1118. Beyond these “constant requirements,” “the adequacy of supervision otherwise will
   depend on the circumstances of a case.” Id.
          The Bar’s interminable investigation of TIKD has been wholly unsupervised by a
   politically accountable state actor, and its Motion does not claim (let alone prove)
   otherwise. Defendants’ extra-investigative communications to lawyers about TIKD were
   unsupervised.        The “non-binding opinions” the Motion admits they expressed were
   unsupervised. The Bar’s mysterious, unsigned staff opinion targeting a suspiciously TIKD-
   like company was not approved by the Florida Supreme Court, nor was the Bar’s giving that
   opinion to The Ticket Clinic to use against TIKD’s cooperating attorneys.                      This
   information-opinion-accusation feedback loop between the Bar staff and The Ticket Clinic,
   so devastating to TIKD’s ability to compete, was not supervised by the Florida Supreme
   Court. The Bar admits this. Mot. at 11 (Florida Supreme court “does not review the Bar’s
   ethics opinions”).
          The Bar’s behavior eerily echoes the North Carolina dental board’s. The Bar was
   not foolish enough to send formal cease-and-desist letters, but it made statements and issued
   a written opinion (in violation of its own rules) intended to cause attorneys to stop
   representing TIKD customers. The Bar’s much-belated admission to this Court that it “has

   5
    See Florida Bar Procedures for Ruling on Questions of Ethics, Rule 2(a)(1)(F) (hereinafter, “Ethics
   Rule 2(a)(1)(F)”), available at https://www.floridabar.org/ethics/ethotline/ethotline001/.


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   no power to determine that any specific conduct constitutes UPL” does not erase the effect
   of its staff’s behavior, or the harm caused by The Ticket Clinic’s use of the Bar’s willingness
   to state, imply, and hint that TIKD is violating Florida law.
             The Bar claims its communications about the status of its UPL investigation
   complied with Bar rules, but this contradicts the Complaint’s allegations, which must be
   taken as true, and is simply wrong. The Bar’s “disclosure of information” rules do not
   permit the Bar to state or suggest it has “found” or “determined” UPL, see Bar Rule 10-8(e),
   and it is precluded from giving opinions on pending matters, see Ethics Rule 2(a)(1)(F). The
   mere existence of rules does not show “active supervision” by the state.             “The active
   supervision requirement demands, inter alia, that the state officials have and exercise power to
   review particular anticompetitive acts” and then “disapprove of those that fail to accord with
   state policy.” Dental Examiners, 135 S. Ct. at 1112 (emphasis added).
             The Bar also claims its “staff opinion” was issued pursuant to Bar rules. Mot. at 9.
   Again, this assertion contradicts the Complaint’s allegations, and cannot be a basis to
   dismiss on Rule 12(b). In any case, the opinion did not follow the rules, for at least three
   reasons: (1) it was a UPL opinion disguised as an ethics opinion, and the Rules do not
   permit the Bar to issue UPL advisory opinions without following strict procedural rules,
   including public notice and a public hearing, none of which the Bar followed;6 (2) even if it
   was an ethics opinion, it was issued to The Ticket Clinic, not a TIKD-cooperating lawyer,
   contrary to the requirement that opinions must concern the requesting lawyer’s “own
   contemplated conduct;”7 and (3) there was a pending UPL investigation of TIKD and
   multiple pending ethics complaints against lawyers who represented TIKD’s clients (filed by
   a The Ticket Clinic lawyer, of course), and the Bar rules prohibit issuing ethics opinions when
   such internal matters are pending.8
             The Bar’s admission that its formal ethics opinions (let alone “staff opinions” and
   oral “non-binding” statements) are not reviewed (or reviewable) by the Florida Supreme
   Court ends the “active supervision” inquiry. Dental Examiners, 135 S. Ct. at 1112 (active

   6
       See Bar Rule 10-9.
   7
       See Bar Rule 2-9.4(d).
   8
     See Ethics Rule 2(a)(1)(F) (“Staff opinions will not be issued if it is known to staff that the
   inquiry . . . is the subject of a proceeding brought under the Rules Regulating The Florida Bar.”).


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   supervision demands that the state officials “have and exercise power to review particular
   anticompetitive acts” and then disapprove of those that do not accord with state policy).
             C.      The individual Bar Defendants are not entitled to qualified immunity.
             The individual Bar Defendants argue they are entitled to qualified immunity
   claiming all of their challenged actions fell within the scope of their legitimate job functions.
   Mot. at 12-13. This ignores TIKD’s Complaint, which alleges “The Florida Bar, through its
   agents [the individual Defendants], engaged in a concerted effort to exclude TIKD from the
   Relevant Market” through action that “plainly exceeds The Florida Bar’s narrow authority
   to investigate alleged [UPL].” Comp. ¶ 86. The Defendants’ argument that their actions
   were authorized is a merits argument, it is contrary to TIKD’s well-pled facts, and it cannot
   support Rule 12(b) dismissal.
             Even if the Court were to look outside the Complaint, the Bar Defendants misstate
   their authority under the Bar Rules. The Rules make clear that only limited information is
   appropriate for disclosure about the status of ongoing UPL investigations. Rule 10-8(e)
   provides that bar representatives should respond to inquiries about UPL investigations by
   providing only: (1) the fact an investigation is pending; and (2) the investigation status.
   Likewise, the Bar Rules prescribe specific procedures for issuing ethics and UPL opinions,
   which, as described above, the Bar Defendants did not follow. UPL opinions require public
   notice and hearing before issuance, ethics opinions may only be issued to a requesting
   attorney concerning his or her “own contemplated conduct,” and they cannot be issued at
   all on matters that are the subject of active UPL or ethics investigations.9
             Here, TIKD has alleged direct and indirect evidence that the Bar Defendants
   individually, and in collaboration with the Ticket Clinic, ignored Florida Bar rules to take
   the following unauthorized actions to harm TIKD:
            After being falsely told by the Ticket Clinic that the Bar had determined TIKD was
             engaged in UPL and that they should call Bar UPL Counsel Jacquelyn Needelman,
             Needelman repeated The Ticket Clinic’s falsehoods. Needelman told one attorney
             that the Florida Bar had “found” TIKD was engaged in UPL in response to
             inquiries, when no such finding had been made nor is the bar authorized to make
             such a finding. Comp. ¶ 69. Another attorney was so “deeply concerned after
             speaking with [Needelman]” that he stopped representing TIKD customers. Id. ¶ 80.


   9
       See notes 5-7, above.


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         When asked directly by Hollander of the Ticket Clinic, Needelman improperly
          shared information related to the Bar’s UPL and ethics investigations—information
          which Hollander then used to bolster his ethics complaint against an attorney
          representing TIKD customers. Id. ¶ 78.
         The Bar provided a Bar Staff Opinion to The Ticket Clinic, implying TIKD’s
          business model was illegal and would expose attorneys to ethics violations. Id. ¶¶ 60-
          62. The Opinion was issued while UPL and ethics investigations regarding TIKD
          and lawyers representing TIKD customers were underway. Id. ¶¶ 49-52. Defendant
          Lori Holcomb is the Division Director of the Bar’s ethics division from which the
          Opinion would have originated. Id. ¶ 12.
          Based on these specific factual allegations that the Bar Defendants were acting
   outside the scope of their discretionary authority, dismissal at this stage of the case is
   premature. Cf. Lopez v. United States, 656 F. App’x 957, 964 (11th Cir. 2016) (defendants
   acted within their discretionary authority because their actions were authorized by relevant
   agency regulations); see also Bey v. Abrams, No. 7:14-CV-02205-RDP, 2015 WL 3839908, at
   *6 (N.D. Ala. June 22, 2015) (“At this stage [12(b)(6)], the court finds that absent some
   limited and targeted discovery, a qualified immunity decision on certain of Plaintiff’s Fourth
   Amendment claims would be premature.”). At a minimum, limited discovery on qualified
   immunity is appropriate before dismissing any of the individual defendants, so TIKD may
   determine who, if anyone, authorized Bar staff’s actions. See Anderson v. Bd. of Regents of
   Univ. Sys. of Georgia, No. CIV.A 104CV3135JEC, 2010 WL 427652, at *6 (N.D. Ga. Feb. 2,
   2010) (noting that limited discovery on job duties, underlying acts, and official policies was
   appropriate to resolve qualified immunity issues).
          D.      The Florida Bar cannot immunize itself or its officials from violations of
                  federal law.
          The individual Bar Defendants claim impunity to violate federal law under Bar Rule
   10-10.1, but the Rule does not, and cannot provide such immunity. Under the Supremacy
   Clause, only federal law can provide immunity from violations of federal law; state law does
   not control. Lightfoot v. Henry Cty. Sch. Dist., 771 F.3d 764, 771 (11th Cir. 2014). Because
   the Bar Defendants are not immune under federal law, a clam of state law immunity –
   especially a Bar Rule – cannot protect them.




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           E.      Noerr-Pennington immunity is not available.
           Noerr-Pennington provides “[j]oint efforts to influence public officials do not violate the
   antitrust laws even though intended to eliminate competition.” United Mine Workers of Am.
   v. Pennington, 381 U.S. 657, 670 (1965) (emphasis added). This doctrine does not apply.
           The Bar Defendants’ argument again depends on its mischaracterizing of TIKD’s
   lawsuit as an effort to prevent the Bar from “petition[ing] the [Florida Supreme Court] to
   take action.” Mot. at 15. TIKD seeks no such thing. Just like Dental Examiners, TIKD’s
   suit is focused on halting and redressing the harm caused by the Bar’s extra-investigative
   actions: falsely telling lawyers that it has “found” TIKD has violated the law, issuing
   unauthorized opinions to that effect, and facilitating a competitors’ smear campaign against
   TIKD. The Bar remains free to do the two things it can do – investigate, and file suit.
           The Bar euphemistically describes its activity as “expressing its non-binding opinions
   on what constitutes UPL,” Resp. at 15, but it has no authority to do that—not even under its
   own rules.       The cease-and-desist letters in Dental Examiners expressed “non-binding
   opinions” about unlicensed practice of dentistry, too. This striking admission that the Bar is
   inflicting antitrust injury without active supervision does not place its actions within Noerr-
   Pennington, because those unauthorized UPL “opinions” were not “efforts to influence
   public officials.” United Mine Workers of Am., 381 U.S. at 670. The Bar can express its
   “opinion” to public officials if and when it files suit.10
           Indeed, courts have held that virtually identical conduct falls outside of the doctrine.
   See, e.g., Wilk v. Am. Med. Ass’n, 895 F.2d 352, 358 (7th Cir. 1990) (anticompetitive
   communications by AMA targeting chiropractors “were not aimed at obtaining legislative
   action. They were instead aimed at medical physicians and hospitals, cautioning them that
   it was unethical ... to associate professionally with chiropractors.”).                  Nor were these


   10
      See In the Matter of the N. Carolina Bd. of Dental Examiners, 152 F.T.C. 640 (F.T.C. 2011) (“The
   ALJ’s Order does not prohibit the Board from investigating, filing a court or administrative action,
   or communicating notice of its intent to file a court or administrative action against a non-dentist
   provider for an alleged violation of the Dental Practice Act.”). In light of the demonstrated
   coordination with TIKD’s competitor, further discovery may prove the Bar’s formal UPL
   investigation was to interfere with TIKD’s business, regardless of the merits of any UPL allegation.
   If so, not even the Bar’s petitioning to the Florida Supreme Court would be protected by Noerr-
   Pennington. See Prof’l Real Estate Inv’rs, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 60–61 (1993).
   TIKD reserves the right to pursue this claim, if needed, after further discovery.


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   statements “intimately related to the Bar’s UPL investigation or potential litigation, as it
   claims. Resp. at 15 (citing Sosa v. DIRECTV, Inc., 437 F.3d 923, 934 (9th Cir. 2006)). To
   the contrary: the Bar Rules prohibit issuing opinions when the matter is subject to a pending
   UPL investigation of ethics complaint.           See Ethics Rule 2(a)(1)(F); Bar Rule 10-6(a)
   (Conduct of Proceedings). The cases the Bar cites, all involving direct pre-litigation activity,
   do not apply.11
          F.      The Bar Defendants are not immune from state antitrust liability.
          Incorporating all their other immunity arguments by reference, the Bar Defendants
   claim immunity from Florida antitrust law. Resp. at 15. Plaintiff does likewise. Because
   the Bar Defendants are not immune from federal law, they are not immune from state law.
   III.   Younger abstention does not apply.
          Younger abstention is inapplicable. First, Younger does not apply to federal antitrust
   claims at all, in light of the exclusivity of federal jurisdiction over such claims. See Andrea
   Theatres, Inc. v. Theatre Confections, Inc., 787 F.2d 59, 62 (2d Cir. 1986) (“[A]bstention is
   clearly improper when a federal suit alleges claims within the exclusive jurisdiction of the
   federal courts.”).12
          Second, TIKD does not seek to enjoin an “ongoing state bar disciplinary
   proceeding,” Thompson v. Florida Bar, 526 F. Supp. 2d 1264, 1272 (S.D. Fla. 2007), or any
   other proceeding. The Bar’s UPL investigation is not an “official proceeding,” but even if it
   were, TIKD does not seek to enjoin it, or a lawsuit if filed. The Bar Defendants’ actions at
   issue in this lawsuit – statements to outside attorneys, stating “non-binding” opinions that
   TIKD is engaged in UPL, and issuing an unauthorized written staff opinion – were not part
   of any “official proceeding.” They were, in fact, prohibited by the Bar’s own rules.
          As to the staff opinion, TIKD’s antitrust claims based on that opinion cannot be
   barred by Younger because there was no “opportunity in the state proceedings” to have these


   11
     See McGuire Oil Co. v. Mapco, Inc., 958 F.2d 1552, 1559 (11th Cir. 1992) (pre-suit litigation threats
   to targeted defendant); Sosa v. DIRECTV, Inc., 437 F.3d 923, 933 (9th Cir. 2006) (demand letters).
   12
      Defendants claim the Sixth Circuit applied Younger to abstain from deciding federal antitrust
   claims in Berger v. Cuyahoga County Bar Ass’n, 983 F.2d 718, 722 (6th Cir. 1993), but this is wrong.
   Berger, which was decided long before Dental Examiners, held the antitrust claims in that case barred
   by state action immunity. Berger applied Younger to the plaintiff’s other claims, but not to the
   antitrust claims.


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   challenges decided, as Younger requires. Thompson, 526 F. Supp. 2d at 1272. The “ethics
   opinion” process is opaque and non-adjudicative. See Mot. to Dismiss at 11. There was no
   opportunity for TIDK to raise these objections under the Florida Bar Procedures for Ruling
   on Questions of Ethics.
   IV.    TIKD’s Complaint states Section 1, Section 2 and state antitrust claims.
          In federal courts, “dismissals [on the pleadings] are particularly disfavored in fact-
   intensive antitrust cases.” Andrx Pharm., Inc. v. Elan Corp., PLC, 421 F.3d 1227, 1235 (11th
   Cir. 2005) (alterations in original) (citation omitted). The Bar Defendants’ scatter-shot
   arguments fall far short of the high hurdle set under Rule 12(b)(6) for antitrust cases.
          A.      The Complaint properly alleges the relevant market.
          TIKD, working with licensed Florida lawyers, competes in the market by providing
   ticked drivers access to legal services. The Bar Defendants, alone and with The Ticket
   Clinic, have sought to exclude TIKD from this market by scaring away attorneys who
   would represent TIKD’s customers. This is a per se antitrust violation. Compl. ¶ 89. See
   Klor’s, Inc. v. Broadway-Hale Stores, Inc., 359 U.S. 207, 212 (1959) (“Group boycotts, or
   concerted refusals [to deal], have long been held to be in the forbidden category.”).
          Because TIKD has alleged a per se violation, the Bar Defendants’ criticism of TIKD’s
   market definition fails. See Areeda & Hovenkamp, Antitrust Law, ¶ 307, at 97 (“As long as
   both the rule of reason and per se claims are in play, the complaint will not be dismissed for
   failure to allege a relevant market.”); see also F.T.C. v. Superior Court Trial Lawyers Ass’n, 493
   U.S. 411, 422, 436 (1990) (no proof of market or market power required “to warrant
   condemnation under the antitrust laws” of attorneys’ “concerted refusal to serve an
   important customer in the market for legal services”).           Nonetheless, TIKD accurately
   defined the relevant market. Compl. ¶ 85.
          The Bar argues that as “an arm of the Supreme Court of Florida,” it “does not
   engage in the practice of law nor does it provide legal services,” and only its members do.
   Mot. at 17.     The Bar cites no authority dismissing an antitrust claim against a bar
   association on this ground. Id. The Supreme Court already rejected this argument. “The
   fact that the State Bar is a state agency for some limited purposes does not create an
   antitrust shield that allows it to foster anticompetitive practices for the benefit of its
   members.” Goldfarb v. Virginia State Bar, 421 U.S. 773, 791 (1975) (state bar, by imposing


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   price floor, “has voluntarily joined in what is essentially a private anticompetitive activity,
   and in that posture cannot claim it is beyond the reach of the Sherman Act”).
          “When an organization is controlled by a group of competitors, it is considered to be
   a conspiracy of its members.” N. Texas Specialty Physicians v. F.T.C., 528 F.3d 346, 356 (5th
   Cir. 2008). In addition to alleging this “conspiracy of members” theory, TIKD alleges the
   Bar Defendants have conspired with a law firm and lawyers in private practice, thereby
   making the Bar’s claim that it does not directly participate in the market irrelevant. Comp.
   ¶¶ 60-61, 73-79, 86-89.
          Market-participant-controlled professional associations are regularly held subject to
   federal antitrust law.    See Dental Examiners, 135 S. Ct. at 1110 (a “nonsovereign actor
   controlled by active market participants – such as the [North Carolina Dental] Board” is
   subject to antitrust laws); In the Matter of the N. Carolina Bd. of Dental Examiners, 152 F.T.C.
   640 (F.T.C. 2011) (“[T]he Board has market power based on the Board’s power to exclude
   competition.”); Teladoc, Inc. v. Texas Med. Bd., 112 F. Supp. 3d 529, 540 (W.D. Tex. 2015)
   (granting preliminary injunction against Texas Medical Board for Sherman Act violations)
   (citing Nat’l Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679 (1978); Goldfarb v. Va. State Bar,
   421 U.S. 773 (1975); F.T.C. v. Indiana Fed’n of Dentists, 476 U.S. 447 (1986)). Imposing
   antitrust liability on the “organization – which is best situated to prevent antitrust violations
   through the abuse of its reputation – is most faithful to the congressional intent that the
   private right of action deter antitrust violations.”        Am. Soc. of Mech. Engineers, Inc. v.
   Hydrolevel Corp., 456 U.S. 556, 572-73 (1982).
          In one sentence, the Bar quibbles over TIKD’s precise definition of the relevant
   market, claiming “‘access to legal services’ and ‘legal services’ are not interchangeable
   substitutes.” Mot. at 18.       This empty assertion “fails to provide clarity,” not TIKD’s
   definition. TIKD alleged in detail how customers obtain legal representation through its
   services. Comp. ¶¶ 24-32. TIKD alleges customers switch from The Ticket Clinic to TIKD,
   showing interchangeability – and competition – of the services offered. Id. ¶ 47.
          B.      The Complaint properly alleges monopolization by the Bar.
          Section 2 of the Sherman Act makes it unlawful to “monopolize, or attempt to
   monopolize, or combine or conspire with any other person or persons, to monopolize any
   part of the trade or commerce.” 15 U.S.C. § 2. However, “the possession of monopoly


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   power will not be found unlawful unless it is accompanied by an element of anticompetitive
   conduct.” Verizon Communications Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398,
   407 (2004) (emphasis in original). Section 2 is violated when monopoly power is used in
   anticompetitive conduct. This is what TIKD alleges, in detail.
          TIKD alleged monopoly power. Compl. ¶ 33 (Bar’s “membership is comprised of all
   persons admitted ... to practice law in the state”). The Bar has monopoly power, by
   definition, because its membership constitutes all licensed lawyers, and only licensed
   lawyers may practice law. Without the Bar’s members, there would be no market.
          The Bar reductively claims its monopoly power cannot be “unlawful,” since “it was
   created pursuant to Florida law.” Resp. at 17. If this is true, Dental Examiners and the entire
   state action doctrine was needless. State-granted monopoly power is the starting point for
   the analysis, not the end. “The use of monopoly power, however lawfully acquired, to
   foreclose competition, to gain a competitive advantage, or to destroy a competitor, is
   unlawful.”    United States v. Griffith, 334 U.S. 100, 107 (1984).       TIDK alleges the Bar
   Defendants have violated Section 2 by abusing the Bar’s monopoly power in exactly that
   way – by using its authority over its members, alone and in combination with the Ticket
   Clinic, as a weapon to stifle the competition TIKD represents. Comp. ¶¶ 60-61, 73-79, 86-
   89. “[I]f a monopolist abuses its monopoly power and acts in an unreasonably exclusionary
   manner vis-à-vis rivals or potential rivals, then [Section 2] is violated.” Byars v. Bluff City
   News Co., Inc., 609 F.2d 843, 853 (6th Cir. 1979) (listing cases finding monopolists’ refusal to
   deal unlawful).
          TIKD has alleged monopoly power and anticompetitive conduct, and thus has stated
   a claim for the Bar Defendants’ violation of Section 2.
          C.      The Complaint adequately alleges claims for attempted monopolization
                  and conspiracy to monopolize.
          Even if there were a question as to the Bar’s monopoly power, and there is not, the
   Bar would still be answerable to TIKD’s claim of attempted monopolization and conspiracy
   to monopolize. See Woods Expl. & Producing Co. v. Aluminum Co. of Am., 438 F.2d 1286, 1304
   (5th Cir. 1971) (“The related offenses of attempting to monopolize and combining or
   conspiring to monopolize do not require that actual possession of monopoly power be
   shown before the cause of action is established.”).



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          TIKD has adequately alleged the “dangerous probability of success” of the attempted
   monopolization in its allegations of the relevant market and the Bar’s market power.
   Compl. ¶¶ 33, 85. This is sufficient at the motion to dismiss stage. Iris Wireless LLC v.
   Syniverse Techs., 49 F. Supp. 3d 1022, 1030-31 (M.D. Fla. 2014) (“[a] dangerous probability
   of success arises when the defendant comes close to achieving monopoly power in the
   relevant market;” plaintiff’s allegation of market power “sufficient at this stage of the
   proceedings to survive a motion to dismiss”).
          TIKD has also adequately alleged the Bar’s intent to monopolize. Compl. ¶ 92 (the
   Bar engaged in “willful acquisition, maintenance, and/or enhancement of monopoly
   power”); id. ¶ 4 (“The Bar issued an informal ‘opinion’ with the intent and effect of scaring
   lawyers away from working with TIKD.”); id. ¶ 61 (“[T]he Bar understood, knew, and
   intended that the Bar Staff Opinion would be used by The Ticket Clinic and its attorneys to
   deter lawyers from representing TIKD customers and thereby competing with The Ticket
   Clinic.”); id. ¶ 86 (“The Florida Bar, through its agents, engaged in a concerted effort to
   exclude TIKD from the Relevant Market by enabling and reinforcing The Ticket Clinic’s
   anticompetitive propaganda campaign.”).          TIKD’s allegations of the Bar Defendants’
   exclusionary conduct itself sufficiently alleges intent. See Volvo N. Am. Corp. v. Men’s Intern.
   Prof’l Tennis Council, 857 F.2d 55, 74 (2d Cir. 1988) (“Proof of the first element of an
   attempted monopolization claim, anticompetitive or exclusionary conduct, may be used to
   infer the second element, specific intent to monopolize ... .”).
          Defendant cites one case where an antitrust complaint was dismissed for failure to
   allege “intent,” but the plaintiff there had wrongly argued “specific intent and dangerous
   probability of success are ... not elements that are required to be pled.” Middlebrooks v. City
   of Eustis, 563 F. Supp. 1060, 1061 (M.D. Fla. 1983). TIKD does not make that argument.
   TIKD has adequately alleged intent.
   V.     The Bar Defendants’ Florida anti-SLAPP argument fails.
          Perhaps in an effort to tack on an attorney’s fee claim, the Bar Defendants have
   alleged a “violation” of Florida’s anti-SLAPP statute. This fails for two reasons.
          A.      The Florida statute does not apply in federal court or to federal claims.
          Florida’s anti-SLAPP state is procedural, not substantive, so it does not apply in
   federal court at all. Abbas v. Foreign Policy Grp., LLC, 783 F.3d 1328, 1333 (D.C. Cir. 2015)


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   (“A federal court exercising diversity jurisdiction therefore must apply Federal Rules 12 and
   56 instead of the D.C. Anti–SLAPP Act’s special motion to dismiss provision.”); cf. Royalty
   Network, Inc. v. Harris, 756 F.3d 1351, 1362 (11th Cir. 2014) (Georgia anti-SLAPP statute’s
   verification requirement does not apply in federal court).
          Moreover, the Supremacy Clause bars application of a state anti-SLAPP statute to
   dismiss federal claims. See Fielder v. Sterling Park Homeowners Ass’n, 914 F. Supp. 2d 1222,
   1231 (W.D. Wash. 2012) (“anti-SLAPP statutes are not applicable to federal claims”). See
   also 19 Fed. Prac. & Proc. Juris. § 4509.
          B.      Even if it applied, this case is not subject to anti-SLAPP dismissal.
          TIKD’s claims fall outside the Florida statute. The Bar Defendants cannot show any
   “[f]ree speech in connection with public issues” at issue in this case. The statute narrowly
   defines that term to include only two categories of speech: “statement[s] ... [1] made before
   a governmental entity ..., or ... [2] made in or in connection with a play, movie, television
   program, radio broadcast, audiovisual work, book, magazine article, musical work, news
   report, or other similar work.” Fla. Stat. § 768.295(2)(a). None of the other grounds for
   invoking the statute apply (i.e., “petition for redress of grievances,” “peaceful assembly,” or
   “instruction of representatives of government”). TIKD’s lawsuit is not based on any such
   rights, as defined, let alone was this suit filed “primarily because” of an exercise of those
   rights. Fla. Stat. § 768.295(a)(3). TIKD filed this suit primarily because of the antitrust injury
   Defendants have inflicted.
   VI.    Conclusion.
          For these reasons, Plaintiff TIKD Holdings, LLC respectfully requests the Court
   deny the Florida Bar Defendants’ Motion to Dismiss, award TIKD its attorneys’ fees under
   Fla. Stat. § 768.295 (only if the Court concludes it applies), and grant such other and further
   relief to which it may be justly entitled.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and complete copy of the foregoing has been served on the
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